 Case:16-05934-MCF13 Doc#:233 Filed:12/07/20 Entered:12/07/20 15:58:36      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE DISTRICT OF PUERTO RICO
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 3
     IN RE:                                   CASE NO. 16-05934-MCF13
 4   EDGARDO NICOLAS MARTINEZ PEREZ           Chapter 13

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 6
     xx-xx-6279
 7
                   Debtor(s)                     FILED & ENTERED ON DEC/07/2020
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 9
                                    ORDER TO SHOW CAUSE
10
          The Debtor filed for chapter 13 relief on July 27, 2016. The sixty-month
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     period of the plan will elapse within approximately six months and the Debtor
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     has not been able to confirm any plan. The Debtor is ordered to show cause
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     within 21 days why the case should not be dismissed for failure to file a
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     confirmable plan. Order due by December 28, 2020.
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          Clerk to follow up.
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          IT IS SO ORDERED.
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          In San Juan, Puerto Rico, this 7 day of December, 2020.
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